AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                  Eastern District
                                                  __________       of North
                                                               District     Carolina
                                                                        of __________


                    MXR IMAGING, INC.                              )
                             Plaintiff                             )
                                v.                                 )      Case No.   5:23-cv-00440-BO
        EVOHEALTH LLC and STEVEN DEATON                            )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          MXR Imaging, Inc.                                                                                                   .


Date:          08/07/2023                                                                 Benjamin S. Morrell
                                                                                            Attorney’s signature


                                                                                Benjamin S. Morrell (NC Bar No. 56676)
                                                                                        Printed name and bar number
                                                                                TAFT STETTINIUS & HOLLISTER LLP
                                                                                 111 East Wacker Drive, Suite 2600
                                                                                        Chicago, IL 60601

                                                                                                  Address

                                                                                         bmorrell@taftlaw.com
                                                                                              E-mail address

                                                                                             (312) 527-4000
                                                                                             Telephone number

                                                                                             (312) 527-4011
                                                                                               FAX number


            Print                        Save As...                                                                   Reset




                     Case 5:23-cv-00440-BO-RJ Document 2 Filed 08/07/23 Page 1 of 1
